             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )
Plaintiff,                             )
                                       )
    v.                                )    Case No. 19-00008-CR-W-HFS
BAILEE ANNA MARIA PRIETO               )
                                       )
                                       )
                                       )
Defendant.                             )

                                      ORDER

      At a Change of Plea Hearing held on August 20, 2020, before Magistrate

Judge John T. Maughmer, defendant entered a plea of guilty pursuant to

Fed.R.Crim.P. 11 to Count Three of the Superseding Indictment.

      In a Report and Recommendation dated August 20, 2020 (Doc. 75), and

September 8, 2020 (Doc. 76), Judge Maughmer determined that the guilty plea was

knowledgeable and voluntary and that the offense charged was supported by an

independent basis in fact containing each of the essential elements of such offense.

      After review of the hearing record (and in the absence of objections) I

ADOPT the Report and Recommendation in (Docs. 75 and 76) and ACCEPT



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defendant’s guilty plea and direct the Clerk to enter it. A Presentence

Investigation Report shall be filed within 120 days.




                                             s/ HOWARD F. SACHS        __
                                             HOWARD F. SACHS
                                             United States District Judge

Dated: November 5, 2020
Kansas City, Missouri




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